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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION


Neil B. Wolin,                                         Civil Action No.: 3:24-cv-07138-MGL-TER

                        Plaintiff,
                                                                          ANSWER
          v.

Palmetto State Armory LLC,

                        Defendant.


          Palmetto State Armory LLC (“PSA” or “Defendant”), hereby responds to the numbered

paragraphs of Plaintiff’s Complaint as follows:

                                          GENERAL DENIAL

          Defendant denies each and every allegation of the Complaint not hereinafter specifically

admitted, modified or otherwise explained.

                             RESPONSE TO NUMBERED PARAGRAPHS

          1.     As to Paragraph 1 of the Complaint, Defendant admits that Plaintiff has brought

claims pursuant to Title VII of the Civil Rights Act but denies that there has been any violation of

any federal, state, or local statute or the common law, and demands strict proof thereof.

          2.     Upon information and belief, Defendant admits the allegations in Paragraph 2 of

the Complaint.

          3.     Defendant admits that Plaintiff’s employment was terminated on May 4, 2024 but

otherwise denies the remaining allegations in Paragraph 3 of the Complaint and demands strict

proof thereof.

          4.     Defendant denies the allegations in Paragraph 4 of the Complaint and demands

strict proof thereof.


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          5.    Defendant denies as pled the allegations in Paragraph 5 of the Complaint and

demands strict proof thereof.

          6.    Defendant denies the allegations in Paragraph 6 of the Complaint and demands

strict proof thereof.

          7.    Defendant denies the allegations in Paragraph 7 of the Complaint and demands

strict proof thereof.

          8.    Defendant denies the allegations in Paragraph 8 of the Complaint and demands

strict proof thereof.

          9.    Defendant denies the allegations in Paragraph 9 of the Complaint and demands

strict proof thereof.

          10.   Defendant admits that Plaintiff loudly called his coworker a p**** in relation to his

coworker’s mental health struggles and for attending therapy. As a result, Plaintiff’s coworker

submitted a formal complaint to Defendant’s Human Resources Department. At the time Plaintiff

made fun of his coworker for mental health issues, he (Plaintiff) was on a final written warning for

sending inappropriate and harassing text messages to one of Defendant’s vendors. Defendant

terminated Plaintiff as a result of his inappropriate and unprofessional behavior toward his co-

worker – calling him a p**** for seeking mental health treatment. See Exhibit A. Plaintiff admitted

to calling his coworker a p****. Defendant denies that Plaintiff ever complained about harassment

based on a protected characteristic and otherwise denies the remaining allegations contained in

Paragraph 10 of the Complaint and demands strict proof thereof.

          11.   Defendant denies the allegations in Paragraph 11 of the Complaint and demands

strict proof thereof.




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          12.   Defendant denies the allegations in Paragraph 12 of the Complaint and demands

strict proof thereof.

          13.   Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 13 of the Complaint regarding the date Plaintiff received the Notice of

Right to Sue and must therefore deny the same. Defendant admits that it is a covered employer

under applicable law but denies that there has been any violation of state or federal law or local

ordinance and demands strict proof thereof.

                                    FIRST CAUSE OF ACTION
                                    (Discrimination/Retaliation)

          14.   In response to the allegations in Paragraph 14 of the Complaint, Defendant repeats,

realleges, and reasserts paragraphs 1-13 as if fully set forth herein verbatim.

          15.   Defendant admits that Plaintiff was qualified for his role as social media

coordinator, and upon information and belief, Defendant admits that Plaintiff is Jewish but

Defendant otherwise denies the remaining allegations contained in Paragraph 15 of the Complaint

and demands strict proof thereof.

          16.   Defendant denies the allegations in Paragraph 16 of the Complaint and demands

strict proof thereof.

          17.   Defendant denies the allegations in Paragraph 17 of the Complaint and demands

strict proof thereof.

          18.   Defendant denies the allegations in Paragraph 18 of the Complaint and demands

strict proof thereof. Defendant further denies that Plaintiff is entitled to the relief requested in the

Paragraph beginning with, “Wherefore,” immediately following Paragraph 18 and its subparts (a)

– (e) and demands strict proof thereof.

                                 SECOND CAUSE OF ACTION
                                       (Harassment)


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          19.    In response to the allegations in Paragraph 19 of the Complaint, the Defendant

repeats, realleges, and reasserts paragraphs 1-18 as if fully set forth herein verbatim.

          20.    Defendant admits Plaintiff was an employee entitled to the protections of Title VII,

but denies the remaining allegations in Paragraph 20 and demands strict proof thereof.

          21.    Defendant admits that it employed Plaintiff but otherwise denies the remaining

allegations contained in Paragraph 21 of the Complaint and demands strict proof thereof.

          22.    Defendant denies the allegations in Paragraph 22 of the Complaint and demands

strict proof thereof.

          23.    Defendant denies the allegations in Paragraph 23 of the Complaint and demands

strict proof thereof. Defendant further denies that Plaintiff is entitled to the relief requested in the

Paragraph beginning with, “Wherefore,” immediately following Paragraph 23 and its subparts (a)

– (d) and demands strict proof thereof.

                                           FIRST DEFENSE

          Plaintiff’s claims are barred to the extent they exceed the allegations set forth in the Charge

of Discrimination.

                                         SECOND DEFENSE

          Defendant did not act intentionally, willfully, wantonly, recklessly, maliciously, or in any

other manner that would support an award of punitive damages.

                                          THIRD DEFENSE

          Plaintiff’s claims are subject to applicable statutory caps.

                                         FOURTH DEFENSE

          Defendant’s actions at all times complied with all applicable law.

                                           FIFTH DEFENSE




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          To the extent that Plaintiff caused or contributed to his alleged injuries or was damaged by

his own improper or unsatisfactory conduct, he is barred from relief.

                                           SIXTH DEFENSE

          Even if Plaintiff could prove that the matters alleged in the Complaint were improper

factors in any employment decisions he challenges (all of which Defendant denies), Plaintiff’s

damages were caused, in whole or in part, by sources other than Defendant’s alleged actions.

Therefore, all such damages are either barred in their entirety or subject to apportionment.

                                        SEVENTH DEFENSE

          At all times throughout its employment of Plaintiff, Defendant acted in good faith and

satisfied all of its statutory, constitutional, common-law, and ethical obligations.

                                         EIGHTH DEFENSE

          To the extent Plaintiff has unclean hands, he is barred from seeking relief from this Court.

                                          NINTH DEFENSE

          Defendant denies that it is required to respond to allegations in the Complaint that are

merely legal conclusions.

                                          TENTH DEFENSE

          Plaintiff has failed to allege facts sufficient to support an award of attorney’s fees.

                                       ELEVENTH DEFENSE

          At all times throughout its employment of Plaintiff, Defendant maintained specific policies

proscribing any form of discrimination, harassment, and retaliation, and it fully complied with

these policies at all times.

                                        TWELFTH DEFENSE




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          The Plaintiff’s allegations in his filing of this Civil Action are frivolous, unreasonable and

without foundation and have been made and done in bad faith.

                                      THIRTEENTH DEFENSE

          Defendant reserves the right to assert additional defenses to include but not be limited to

the right to assert the after-acquired evidence defense should they discover evidence during the

course of this civil action that would otherwise justify any act or omission challenged in this

lawsuit or preclude Plaintiff from recovering damages.

                                     FOURTEENTH DEFENSE

          Plaintiff is ineligible and/or not entitled to any relief because he failed to follow

Defendant’s policies.

                                       FIFTEENTH DEFENSE

          Defendant’s actions were based on reasonable non-discriminatory factors. Defendant did

not take any action against Plaintiff on the basis of his religion or any protected activity.

                                       SIXTEENTH DEFENSE

          Plaintiff never engaged in a protected activity pursuant to Title VII of the Civil Rights Act.

                                     SEVENTEENTH DEFENSE

          Plaintiff’s claims are barred, in whole or in part, to the extent he has failed to mitigate any

damages.

                                      EIGHTEENTH DEFENSE

          Defendant exercised reasonable care to prevent and correct promptly any harassing

behavior, and Plaintiff unreasonably failed to timely take advantage of any preventive or corrective

opportunities.

                                      NINETEENTH DEFENSE




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          To the extent Plaintiff has unclean hands, he is barred from seeking relief from this Court.

                                     TWENTIETH DEFENSE

          The Complaint fails in whole or in part to state a claim upon which relief can be granted.

                                    TWENTY-FIRST DEFENSE

          At all relevant times Plaintiff was an at-will employee of Defendant.



          WHEREFORE, Defendant prays that the Court:

     1. Enter judgment for Defendant and dismiss the Complaint with prejudice;

     2. Deny all relief that Plaintiff requests;

     3. Award Defendant its costs and attorney’s fees to the extent allowed by law; and

     4. Grant Defendant any further relief that the Court determines is just and equitable.

          Dated this 10th day of December, 2024.



                                                   Respectfully submitted,

                                                   s/ Chandler E. Aragona
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